Case 3:17-cv-00072-NKM-JCH Document 263-4 Filed 03/14/18 Page 1 of 4 Pageid#: 1782




                     EXH. 4
Case 3:17-cv-00072-NKM-JCH Document 263-4 Filed 03/14/18 Page 2 of 4 Pageid#: 1783




   RE: ANGLIN, ANDREW & MOONBASE HOLDINGS - Attempts to serve process.

   Tuesday, December 26th, 2017 – 6:30 PM – 7:25 PM

   The attempts from the 12/26/2017 came back
   as no response at any of the locations attempted so
   additional attempts were made on 12/27/2017.

   1017 Colony Way, Columbus, Ohio - 12/26/2017 @ 7:25 PM - No response. Location was dark, one light on
   near the front porch.

   729 Worthington Forest Place, Columbus, Ohio 43229 - 12/26/2017 @ 6:40 PM - No response, no lights could
   be seen on inside the residence.

   737 Worthington Forest Place, Columbus, Ohio 43229 - 12/26/2017 @ 6:45 PM - No response. Light on in
   porch area.

   5442 Worthington Forest Pl, Columbus, Ohio 43229 - 12/26/2017 @ 6:30 PM - No response. Light on but it
   didn't appear anyone was home.




   Wednesday, December 27th , 2017 2:45pm-3:45pm

   1017 Colony Way, Columbus, Ohio 43235
   The investigator attempted a door knock at the residence located at 1017 Colony Way however the door was
   not answered and it appeared that no one was present for questioning. A knock at the residence located at
   1013 Clubview Blvd S, Columbus, OH 43235 was performed. A black Mercedes OH#FB28NW was present in
   the driveway. A unidentified male in his 50's answered the door. When questioned about the 1017 residence,
   the individual stated that he believed a woman lived there by the name of "Virginia". When questioned about
   the name Anglin, the man stated he had no knowledge of the name. The investigator departed the area.




   729 Worthington Forest Pl, Columbus, Ohio, 43229
   An attempt to question any individuals at the 729 condo was performed by the investigator. Several knocks
   were given however no one answered the gate.
Case 3:17-cv-00072-NKM-JCH Document 263-4 Filed 03/14/18 Page 3 of 4 Pageid#: 1784




   737 Worthington Forest Pl, Columbus Ohio, 43329
   The investigator encountered and stopped a man arriving to and entering the residence 737. The man stated
   his name was Paul Dickson and he lived at the residence. The man stated Greg Anglin was his landlord and
   provided a cell number to reach him (614-537-4734). He also disclosed that he believed his daughter was
   residing in one of the condos near the 5442 condo, however he was not 100% certain if she was currently still
   there or not. When questioned about Andrew the individual said he did not even know the landlord had a son,
   only a daughter, and was unable to provide any relevant info. The man questioned had arrived in a Cadillac
   OH#HGS9001.




   5442 Worthington Forest Pl, Columbus, Ohio, 43229
   The residence located at 5442 Worthington Forest was knocked at by the investigator. A man who identified
   himself as Bob answered the gate however he stated he was not the resident; that his girlfriend Leigh was. A
   woman in her 30's approached the door when called by the boyfriend. She identified herself as Leigh Smith,
   and stated she believed Greg Anglin was the landlord but was unable to provide any other information. When
   questioned about Andrew the woman stated she did not know the name or had ever encountered him.

   -Documentation of the vehicles in the parking lot near the 5442 residence was noted;
   Nissan Rogue OH#HGJ3247
Case 3:17-cv-00072-NKM-JCH Document 263-4 Filed 03/14/18 Page 4 of 4 Pageid#: 1785




   Mercury Town Car OH#FSM2373
   Chevy 1500 OH#HDU7039
